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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

ATLANTIC RECORDING                  )
CORPORATION, et al.,                )
                                    )
     Plaintiffs,                    )
                                    )              Case No.:
v.                                  )
                                    )              1:17-CV-0431-AT
SPINRILLA, LLC, et al.,             )
                                    )
     Defendants.                    )
____________________________________)

        DEFENDANTS’ MOTION FOR CERTIFICATION
 PURSUANT TO 28 U.S.C. SECTION 1292(b) WITH BRIEF IN SUPPORT

      Defendants file this Motion for Certification Pursuant to 28 U.S.C. Section

1292(b) and state as follows:

I.    Introduction

      The Court should certify its ruling (“Order” (Dkt. 391)) on Plaintiffs’ direct

copyright infringement claims for immediate appeal under Section 1292(b). (28

U.S.C. Section 1292(b)). The Order grants Plaintiffs’ motion for summary judgment

finding that Defendants are liable for direct copyright infringement b/c Defendants

made Plaintiffs’ copyrighted sound “recordings available for streaming [over the

internet] without a license.” (Order, Dkt. 391 at 11). According to the Court

“Defendants have created an interactive internet player that streams copyrighted
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content directly from its website and mobile app. In doing so, Defendants have

infringed Plaintiffs’ exclusive right ‘to perform’ their copyrighted sound recordings

“publicly by means of a digital audio transmission.” (Order, Dkt. 391 at 34).

      The Court found, based on the Supreme Court’s decision in ABC v. Aereo,

Inc., 573 U.S. 431 (2014), that there was no volitional conduct requirement in

analyzing direct infringement liability of user generated content (“UGC”) websites

like Spinrilla. (Order, Dkt. 391 at 33). In addition, the Court held that “if ‘volitional’

conduct is a necessary element for direct copyright infringement” . . . . the

affirmative act of streaming constitutes direct infringement of the copyright holder’s

exclusive right of performance regardless of the fact that the streaming occurs at the

request of the user.” (Order, Dkt. 391 at 33).

      This ruling is suited for immediate appeal under Section 1292(b) because (1)

the ruling involves a pure and controlling question of law (2) as to which there is

substantial ground for difference of opinion and (3) an immediate appeal may

materially advance the ultimate termination of the litigation. Specifically,

Defendants request that the following two questions of law be certified for

immediate appeal:

      (1) Whether volitional conduct is a necessary element for holding a
      UGC based internet company liable for direct copyright infringement?

      (2) If volitional conduct is a necessary element for finding an internet
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      company liable for direct copyright infringement, whether streaming
      content is an affirmative act that meets the volitional conduct
      requirement?

      (3) Whether streaming alone, without a volitional act, is enough to find
      a UGC based internet company liable for direct copyright infringement.

II.   Argument

      The Court of Appeals has discretion to review an interlocutory order if the

district court certifies that the “order involves a controlling question of law as to

which there is substantial ground for difference of opinion and that an immediate

appeal from the order may materially advance the ultimate termination of the

litigation.” (28 U.S.C. Section 1292(b)). The issues regarding the volitional act

requirement for direct copyright infringement satisfy those requirements.

      A.     The Order involves a pure and controlling question of law
             regarding liability for direct copyright infringement

      A controlling question of law is “a question of the meaning of a statutory or

constitutional provision, regulation, or common law doctrine.” (McFarlin v.

Conseco Serv. LLC, 381 F.3d 1251, 1258 (11th Cir. 2004)). The question must be

“an abstract legal issue that the court of appeals can decide quickly and cleanly.”

(McFarlin, 381 F.3d at 1258).

      Whether volitional conduct is a necessary element for holding a UGC based

internet company liable for direct copyright infringement and whether streaming

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content is an affirmative act that meets the volitional conduct requirement present

just such questions of law.

      In addition to being purely legal questions, they are also abstract ones. A

determination of these issues does not require that the Court of Appeals scrutinize

factual allegations or delve into the agreed upon facts. Instead, these questions

require that that Court of Appeals assess the legal standard for liability for an internet

company. It is, therefore, just the sort of question for which review under Section

1292(b) is intended. (See e.g., McFarlin, 381 F.3d at 1259 (Interlocutory appeals

under 28 U.S.C. § 1292(b) “were intended, and should be reserved, for situations in

which the court of appeals can rule on a pure, controlling question of law without

having to delve beyond the surface of the record in order to determine the facts.”)).

      B.     Determination of the standard for direct copyright infringement
             for a UGC-based website is a legal question as to which there is
             substantial ground for difference of opinion

      A substantial ground for difference of opinion exists when a legal issue is “(1)

difficult and of first impression, (2) the district courts of the controlling circuit are

split as to the issue, or (3) the circuits are split on the issue.” (Georgia NAACP, 952

F.Supp.2d at 1362; see also U.S. ex rel. Powell v. Am. InterContinental Univ.,

Inc., 756 F.Supp.2d 1374, 1378–79 (N.D.Ga.2010) (citing In re Scientific–Atlanta,

Inc. Securities Litigation, No. 01–cv–1950–RWS, 2003 WL 25740734 at *1

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(N.D.Ga. Apr. 15, 2003) (Story, J.)) (“neither the mere lack of authority on the issue

nor the claim that the district court's ruling is incorrect constitutes a substantial

ground for difference of opinion.”)). The mere claim that the district court’s ruling

is incorrect does not “constitute[] a substantial ground for difference of opinion.”

(United States ex rel. Powell, 756 F. Supp. 2d at 1378-79).

      The legal questions at issue – whether volitional conduct is a necessary

element for holding a UGC based internet company liable for direct copyright

infringement and if streaming content over the internet at a user’s request is a

sufficient volitional act – supply substantial grounds for differing opinions. These

legal issues present difficult questions of first impression for the Eleventh Circuit,

as this Court acknowledged. (Order, Dkt. 391 at 33 (“Eleventh Circuit has not

considered whether ‘volitional’ conduct is a necessary element for finding an

internet company liable for direct copyright infringement.”)).

      In addition to being an issue of first impression, it is a difficult question where

there is a substantial ground for difference of opinion. In finding that streaming

constituted a volitional act, the Court cited Spanski Enterprises, Inc. v. Telewizja,

S.A., 883 F.3d at 910, 912 (D.C. Cir. 2018) for the proposition that “the affirmative

act of streaming constitutes direct infringement of the copyright holder’s exclusive

right of performance regardless of the fact that the streaming occurs at the request

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of the user.” (Order, Dkt. 391 at 33). But, Spanski declined to address the volitional

act requirement, as Plaintiffs acknowledged. (Pla. Br., Dkt. 225 at 14, fn. 5 citing

Spanski, 883 F.3d 911-12).

      In fact, every Circuit Court that has directly addressed the volitional act

requirement, has found that a volitional act is required – even those Circuits

addressing the issue after the Supreme Court’s decision in Aereo. (ABC, Inc. v.

Aereo, Inc., 134 S. Ct. 2498, 2512–13, 189 L. Ed. 2d 476 (2014) (Scalia, dissenting)

(citing Fox Broadcasting Co. v. Dish Network LLC, 747 F.3d 1060, 1066–1068 (9th

Cir. 2014), CoStar Group, Inc. v. LoopNet, Inc., 373 F.3d 544, 549-550 (4th Cir.

2004); Cartoon Network LP, v. CSC Holdings, Inc., 536 F.3d 121, 131 (2d Cir.

2008); Parker v. Google, Inc., 242 Fed. Appx. 833, 836-837 (3d Cir. 2007)); see

also Leonard v. Stemtech Int'l Inc., 834 F.3d 376, 386-87 (3d Cir. 2016) (“[t]o prove

direct infringement, a plaintiff must show . . . volitional conduct” by the defendant));

BWP Media USA, Inc. v. T & S Software Assocs., Inc., 852 F.3d 436, 444 (5th Cir.

2017) (“[w]e adopt the volitional-conduct requirement in direct-copyright-

infringement cases” and no liability for defendant that “hosts the [online] forum on

which infringing content was posted” by others)). In contrast, the First Circuit, in

dicta, suggested that the “‘volitional act’ position’ had been raised “with varying

degrees of success” in other circuits. (Society of Holy Transfiguration Monastery,

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Inc. v. Gregory, 689 F.3d 29, 55 (1st Cir. 2012) (citing Quantum Sys. Integrators,

Inc. v. Sprint, 338 Fed. Appx. 329, 335–36 (4th Cir.2009); Cartoon Network, 536

F.3d at 131–32; Parker v. Google, Inc., 242 Fed. Appx. 833, 836–37 (3d Cir.2007);

CoStar Grp., Inc. v. LoopNet, Inc., 373 F.3d 544, 549–51 (4th Cir.2004)).

      Given this authority, whether or not the act of streaming meets the volitional

act requirement is not straightforward. Importantly, Spanski did not involve a UGC

website. Instead, the defendants in Spanski were solely responsible for selecting the

content appearing on its service (883 F.3d at 907, 909), in stark contrast to Spinrilla

which only provides sound recordings uploaded by its users (Order, Dkt. 391 at 2-

3). In addition, the volitional act requirement was not involved in United States v.

Am. Soc’y of Composers, Authors, Publishers, 627 F.3d 64 (2d Cir. 2010) upon

which the Court relies. (Order, Dkt. 391 at 25).

      C.     Immediate appeal would materially advance the termination of this
             litigation

      Resolution of a legal question materially advances the ultimate termination of

the litigation if it “would serve to avoid a trial or otherwise substantially shorten the

litigation.” (McFarlin, 381 F.3d at 1259). This factor also asks whether “additional

time and expense may be saved by the appeal.” (Monroe City Employees’ ret. Syst.

V. S. Co., 333 F. Supp. 3d 1315, 1328 (N.D. Ga. 2018)). As this Court has

recognized, the “controlling issue of law” and “materially advance the litigation”
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prongs of the Section 1292 operate in the same way. (Consumer Fin. Prot. Bureau

v. Frederick J. Hanna & Assocs., P.C, 165 F. Supp. 3d 1330, 1334 (N.D. Ga. 2015)).

      In determining whether an immediate appeal would materially advance the

termination of the litigation, “one of the facts to consider is ‘the extent to which

additional time and expense may be saved by the appeal.’” (Doe3 v. Red Roof Inns,

Inc., No. 1:19-cv-03843-WMR, 2020 WL 498667, at *3 (N.D. Ga. April 29, 2020),

quoting Monroe City. Employees’ Ret. Sys. v. Southern Co., 333 F. Supp. 3d 1315,

1328 (N.D. Ga. 2018)).

      Immediate appeal would advance the termination of this litigation and

conserve time and expense for the Court as well as the litigants. The Court granted

Plaintiffs’ motion for summary judgment in part. (Order, Dkt, 391 at 34). The Court,

however, held that “[h]aving found that Plaintiffs are entitled to summary judgment

for direct infringement, it is not necessary to consider Plaintiffs’ claims for

secondary or contributory infringement.” (Dkt. 391 at 34). Plaintiffs brought their

claim for contributory infringement as a separate count (Count II) in their Amended

Complaint (Dkt. 127). Thus, Plaintiffs’ claim for contributory infringement remains

unadjudicated and must be resolved prior to a final judgment in this case. (See e.g.,

28 U.S.C. Section 1291 (final judgments); Gelboim v. Bank of America Corp., 574

U.S. 405, 408-409 (2015) (“A ‘final decision’ is one by which a district court

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disassociates itself from a case.”); Federal Rule of Civil Procedure 54(b) (permitting

district courts to authorize immediate appeal of dispositive rulings on separate

claims in a civil action raising multiple claims.”)).

      Although the Court has ordered that the Parties’ prepare their joint

consolidated pretrial order on the question of damages, the forthcoming damages

jury trial will not dispose of all of the claims in this action because the contributory

infringement claim will remain. An immediate appeal, before a trial on damages,

will accordingly materially advance the ultimate termination of the litigation and

save the parties and court time and expense.

      If the Eleventh Circuit were to conclude that a volitional act is required and

that streaming at a user’s request does not meet that requirement, then the direct

infringement claims would be dismissed, narrowing the litigation. The Parties and

Court could focus on Plaintiffs’ claim for contributory copyright infringement. And,

if the Eleventh Circuit were to affirm this Court’s ruling, then it is likely that the

Parties would agree to the dismissal of the contributory copyright infringement

count, eliminating the need for further litigation of that count. (See Corley v. Long-

Lewis, Inc., 965 F.3d 1222, *6 (11th Cir. 2020) (holding that an order granting a

motion to voluntarily dismiss the remainder of a complaint under Rule 41(a)(2)

“qualifies as a final judgment for purposes of appeal.”)).

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      Moreover, while the Court has indicated its willingness to schedule a trial on

damages without resolving Plaintiffs’ claim for contributory infringement, jury trials

are not set to resume until after February 28, 2021 due to COVID_19. (Ninth

Amendment to General Order 20-01, Dkt. 393). The resulting backlog of cases –

especially criminal cases – presumably means that it is unlikely that this case would

tried until 2022. It is no secret that courts, including the Northern District of Georgia,

are obliged to dispense with criminal case first, which, logically, will delay civil

trials. Relatedly, Spinrilla has invoked its right to a jury trial on damages. (Answer,

Dkt. 22, at ¶ 88; Answer to Amended Complaint, Dkt. 149 at ¶ 93; Feltner v.

Columbia Pictures Television, Inc., 523 U.S. 340 (1998) (holding that Seventh

Amendment provides a right to a jury trial on all issues pertinent to the award of

statutory damages in copyright infringement cases); 3 M. Nimmer & D. Nimmer,

Nimmer on Copyright § 12.10[B] (1997) (“beyond dispute that a plaintiff who seeks

to recover actual damages is entitled to a jury trial” (footnotes omitted))).

Accordingly, a stay of the remaining litigation for the appeal will not result in a

substantial delay in the litigation. (See Landcastle Acquisition Corp. v. Renasant

Bank, 465 F. Supp. 3d 1329, 1354, fn. 21 (N.D. Ga. 2020) (“The Court also notes

that, due to the exigencies created by COVID-19, any trial in this case would likely

be delayed . . . meaning that a stay would not be as disruptive as it otherwise might

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be.”). Indeed, the resulting streamlining of the issues in the case would serve to

provide a quicker resolution to the case.

      Additionally, the requirement that an immediate appeal materially advances

the ultimate termination of the litigation is essentially an effort to improve judicial

efficiency. (Dist. 65 Ret. Trust v. Prudential Sec. Inc., 925 F. Supp. 1551, 1570 (N.D.

Ga. 1996)). In other words, if an appeal may dispense with a legal issue that would

avoid protected and expensive litigation, the appeal might be favored. But when

there is no “protracted and expensive litigation” this prong carries less weight or is

meaningless. Here, this case has already been “protracted and expensive,” there is

little left to do. What would be judicially inefficient would be finishing this case

(i.e., with a trial on damages), then Spinrilla appealing that order under Federal Rule

of Civil Procedure 54(b) and the case being returned to this Court for more

proceedings on the contributory infringement claims. An appeal of this “streaming”

issue is inevitable so staying the case now and allowing the appeal to proceed is

more judicially efficient. This is even more true given that there will likely not be a

jury trial held in this case until 2022.

IV.   Conclusion

      For the foregoing reasons, Defendants respectfully request that this Court

grant its Motion and certify its Order (Dkt. 391) for immediate appeal.

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     Respectfully submitted this 10th day of December, 2020.

LILENFELD PC

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         CERTIFICATE OF COUNSEL REGARDING FONT SIZE

      I, David M Lilenfeld, an attorney, hereby certify that the foregoing has been

prepared with a font size and point selection (Times New Roman, 14 pt.) which is

approved by the Court pursuant to Local Rules 5.1(C) and 7.1(D).

                                      /s/ David M. Lilenfeld
                                      David M. Lilenfeld




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                 IN THE UNITED STATES DISTRICT COURT
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ATLANTIC RECORDING                  )
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     Plaintiffs,                    )
                                    )                 Case No.:
v.                                  )
                                    )                 1:17-CV-0431-AT
SPINRILLA, LLC, et al.,             )
                                    )
     Defendants.                    )
____________________________________)

                          CERTIFICATE OF SERVICE

        The   foregoing   DEFENDANTS’           MOTION      FOR    CERTIFICATION

PURSUANT TO 28 U.S.C. SECTION 1292(b) WITH BRIEF IN SUPPORT was

filed   using   the   Court’s   CM/ECF          system,   which   automatically   and

contemporaneously sends electronic notification and a service copy of this filing to

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This 10th day of December, 2020.

/s/ David M. Lilenfeld
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